Filed 05/29/18                                      Case 15-26125                                        Doc 39



            75
       1    SCOTT J. SAGARIA (BAR # 217981)
            KYLE W. SCHUMACHER (BAR # 282427)
       2    KSchumacher@sagarialaw.com
            SAGARIA LAW, P.C.
       3    3017 Douglas Blvd., Ste 200
            Roseville, CA 95661
       4    408-279-2288 ph
            408-279-2299 fax
       5
            Attorney for Debtors
       6

       7

       8
                                     UNITED STATES BANKRUPTCY COURT
       9
                      EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
       10

       11
            In Re:                                          Case No.: 15-26125-A-7
       12                                                   DC No.: KWS-002
       13   Eduardo Velis Jr.,                              Chapter 7
       14                          Debtor.                  EXHIBITS IN SUPPORT OF DEBTOR’S
                                                            MOTION FOR AN ORDER TO SHOW
       15                                                   CAUSE FOR VIOLATION OF THE
                                                            DISCHARGE ORDER PURSUANT TO 11
       16                                                   U.S.C. §524(a)
       17
                                                             Date:     July 16, 2018
       18                                                    Time:     10:00 a.m.
                                                             Judge:    Michael S. McManus
       19                                                    Crtrm:    28
                                                             Dept.:    A
       20                                                    Location: 501 I Street
                                                                       Sacramento, CA. 95814
       21

       22
                     Debtor Eduardo Velis, Jr. hereby submits the following exhibits in support of his
       23
            motion for an order to show cause for violation of the discharge injunction:
       24
                        A. Exhibit A – Shellpoint Settlement Offer Letter 1-27-16
       25
                        B. Exhibit B – Shellpoint Letter re Errors on Billing Statement 4-20-16
       26
                        C. Exhibit C – Shellpoint Letter re Line of Credit 7-1-16
       27
                        D. Exhibit D – Shellpoint Privacy Statement 10-28-16
       28
                        E. Exhibit E – Trustee’s Deed Upon Sale
Filed 05/29/18                               Case 15-26125                           Doc 39




       1         F. Exhibit F – Shellpoint Fee Schedule Notice 5-15-17
       2         G. Exhibit G – Shellpoint Correspondence 8-1-17
       3         H. Exhibit H – Letter to Shellpoint from Debtor’s Counsel 8-18-17
       4         I. Exhibit I – Shellpoint Workout Letter 10-27-18
       5         J. Exhibit J – Shellpoint Privacy Statement 10-30-17

       6         K. Exhibit K – Shellpoint Settlement Offer Letter 3-13-18

       7         L. Exhibit L – Shellpoint Monthly Billing Statement 4-22-18

       8         M. Exhibit M – Shellpoint Assistance Program Letter 4-25-18

       9         N. Exhibit N – Shellpoint Fee Schedule Notice 5-16-18

       10        O. Exhibit O – Fee ledger

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT A
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit A
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit A
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT B
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit B
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit B
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit B
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT C
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit C
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit C
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT D
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit D
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit D
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT E
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit E
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit E
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT F
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit F
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit F
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT G
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit G
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit G
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT H
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit H
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit H
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit H
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28         EXHIBIT I
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit I
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit I
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT J
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit J
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit J
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT K
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit K
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit K
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit K
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit K
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT L
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit L
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit L
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit L
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit L
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit L
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit M
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT N
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit N
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit N
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit N
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit N
Filed 05/29/18   Case 15-26125               Doc 39




                                 Exhibit N
Filed 05/29/18   Case 15-26125   Doc 39




       1

       2

       3

       4

       5

       6

       7

       8

       9

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28        EXHIBIT O
Filed 05/29/18                                               Case 15-26125                                                      Doc 39
        Sagaria Law, P.C.
            3017 Douglas Blvd
                Suite 200
            Roseville, CA 95661



                                                                             Ed Velis
                                                                             8204 Tanoak Way
                                                                             Citrus Heights, CA 95621




 Date         Initials   Description of Services/Expense                       Qty/Amount        Rate/Price               Amount
8/18/2017     KWS        Prepared and sent letter to Shellpoint to Cease               0.50             $400.00           $200.00
                         contacting client and cease continued collection
3/20/2018     RAS        Discussion with client regarding continued                    0.50             $150.00            $75.00
                         collection letters from Shellpoint
5/01/2018     KWS        Prepared and sent email to GRL regarding                      0.20             $400.00            $80.00
                         continued collection by Shellpoint
5/02/2018     TLU        Discussion with client regarding additional                   0.10             $100.00            $10.00
                         notices from Shellpoint
5/21/2018     KWS        Prepared Motion for Order to Show cause for                   1.00             $400.00           $400.00
                         violation of the discharge Injunction
5/21/2018     KWS        Prepared Memorandum of Points and Authorities:                1.00             $400.00           $400.00
                         Legal points and authorities
5/21/2018     KWS        Prepared memorandum of points and authorities:                1.00             $400.00           $400.00
                         Argument regarding contempt of Discharge
                         Injunction
5/21/2018     KWS        Prepared and sent email to client regarding facts             0.50             $400.00           $200.00
                         of the case
5/21/2018     KWS        Prepared Memorandum of Points and authorities:                1.00             $400.00           $400.00
                         Judicial Notice, Introduction, and about the
                         Creditor
5/21/2018     KWS        Prepared Declaration of Attorney to support                   1.00             $400.00           $400.00
                         damages
5/21/2018     KWS        Prepared rough draft of client's declaration                  1.00             $400.00           $400.00
5/21/2018     KWS        Prepared Memorandum of Points and authorities                 2.00             $400.00           $800.00
                         regarding Factual History
5/21/2018     KWS        Legal research related to Violations of the                   2.00             $400.00           $800.00
                         Discharge Injunction
5/21/2018     KWS        Prepared memorandum of points and authorities:                1.00             $400.00           $400.00
                         Argument regarding Damages
5/22/2018     KWS        Conference with client to discuss factual issues              0.50             $400.00           $200.00
                         in the case
5/29/2018     KWS        Prepared and sent email to GRL regarding                      0.20               $0.00             $0.00
                         declaration
5/29/2018     KWS        Received email from GRL regarding Declaration                 0.00               $0.00             $0.00
5/29/2018     KWS        Prepared and sent email to client                             0.00               $0.00             $0.00
5/29/2018     KWS        Re: RE: Declaration 15-26125 Velis v. Shellpoint              0.00               $0.00             $0.00




                                                                                                                  Page:        1



                                                                                                        Exhibit O
Filed  05/29/18
 5/29/2018    KWS                                      Case 15-26125
                    Prepared and sent email to GRL regarding                     0.20   $400.00                  Doc 39
                                                                                                            $80.00
                    motion to reopen
5/29/2018   KWS     Prepared and sent email to client regarding                  0.20   $400.00             $80.00
                    declaration
5/29/2018   KWS     Prepared and finalized Client's Declaration                  1.00   $400.00            $400.00
5/29/2018   KWS     Preparation and review of Exhibits                           1.00   $400.00            $400.00
5/29/2018   KWS     Prepared Exhibit List                                        1.00   $400.00            $400.00
5/29/2018   KWS     Prepared Notice of Motion for Order to Show                  0.40   $400.00            $160.00
                    Cause regarding Violation of the Discharge
                    Injunction
5/29/2018   KWS     Received and reviewed email from GRL                         0.10   $400.00             $40.00
                    regarding client's declaration and credit report
5/29/2018   KWS     Received and reviewed email from GRL                         0.00     $0.00              $0.00
                    regarding appointment
5/29/2018   KWS     Prepared and sent email to GRL regarding                     0.00     $0.00              $0.00
                    updating declaration

                                                                       Total:   17.40                     $6,725.00




                                                                                                  Page:          2



                                                                                        Exhibit O
